 _________________________________________________________________/




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                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

                                                                          CASE NO:
 LATISHA THOMAS, as
 Personal Representative of
 The Estate of ANTHONY LOWRY,
 Deceased, for and on behalf of
 Said Estate and the Survivors Thereof,

                        Plaintiff,

 vs.

 UNITED STATES OF AMERICA
 and REGINALD PEREIRA, M.D.,

                        Defendants.


                                     COMPLAINT FOR WRONGFUL DEATH

            COMES NOW the Plaintiff, LATISHA THOMAS, as Personal Representative of

 the Estate of Anthony Lowry, deceased, for and on behalf of Said Estate and the

 Survivors Thereof, and sues the Defendants, THE UNITED STATES OF AMERICA

 and REGINALD PEREIRA, M.D. (hereinafter “PEREIRA”), and alleges as follows:

         JURISDICTIONAL STATEMENT AND IDENTIFICATION OF PARTIES

            1.         This is an action brought pursuant to the procedures outlined in the Federal

 Tort Claims Act, as well as the provisions of Florida Statute 766.

           2.          Venue is proper in the Southern District of Florida, as the Decedent was a

 resident of Miami-Dade County, Florida, the Estate of Anthony Lowry has been opened


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 in Miami-Dade Circuit Court, and the medical care at issue was provided at the VA

 Hospital in Miami, Florida.

        3.     The Plaintiff, LATISHA THOMAS, is the duly appointed Personal

 Representative of the Estate of Anthony Lowry, as noted in the Order Appointing

 Personal Representative and Letters of Administration, copies of which are attached

 hereto and made a part of this Complaint as Exhibit A.

        4.     The Decedent, Anthony Lowry, was a military veteran who died as a result

 of the alleged negligence in this matter on June 12, 2017.

        5.     Latavis Thomas [date of birth: September 4, 1992], is a surviving child of

 Anthony Lowry and is a survivor as defined by the Florida Wrongful Death Statute.

        6.     At all times material hereto,        Defendant,   UNITED STATES OF

 AMERICA, owned and operated the Veterans Administration Hospital in Miami,

 Florida.

        7.     At all times material hereto, Alan Schob, M.D. was a specialist in

 cardiovascular diseases, practicing in Miami-Dade County, Florida at the Veteran’s

 Administration Hospital, and was an employee of the Veterans Administration and

 therefore an employee of THE UNITED STATES OF AMERICA.

        8.     At all times material hereto, Defendant, REGINALD PEREIRA, M.D.,

 was a physician licensed to practice medicine in the State of Florida, and practiced in the

 specialty of internal medicine and was practicing in Miami-Dade County, Florida.


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        9.       This Court has jurisdiction over this matter pursuant to 28 U.S.C., Section

 1346(b), Section 1402(b), Section 2401(b), Sections 2671 through 2680 and 28 U.S.C.

 Section 1367.

        10.      The Plaintiff herein has complied with all conditions precedent to the filing

 of this matter.

        11.      With regard to the claim against THE UNITED STATES OF AMERICA,

 the Plaintiff has complied with all conditions precedent by providing notice to the

 appropriate government agency, pursuant to 28 U.S.C. Section 2675(a). The Plaintiff

 did in fact prepare, serve and deliver standard Form 95, which was acknowledged by the

 US Department of Veteran Affairs’ Office of General Counsel as having been received

 by that agency on September 24, 2018. A copy of the Form and response are attached

 hereto and incorporated into this Complaint as Exhibit B.

        12.      More than six months have now passed since the US Department of

 Veteran Affairs received the Form 95 claim, and the agency has not settled or denied the

 claim or responded to it in any fashion.      As such, the Plaintiff has complied with all

 notice provisions and the Court has jurisdiction to entertain this Complaint.

        13.      In addition thereto, the Plaintiff served, by certified mail, return receipt

 requested a Notice of Intent to Defendant PEREIRA that contained all of the information

 required by Chapter 766 of the Florida Statutes to initiate a medical negligence claim.

 Defendant PEREIRA failed and refused to respond to said notice and/or any subsequent


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communications, therefore, the presuit period under Florida law as to Defendant

 PEREIRA is deemed to have expired, thus, entitling the Plaintiff to file this lawsuit.

                     FACTS GIVING RISE TO THE COMPLAINT

        14.    The Decedent, Anthony Lowry, who was 67 years old, went to the

 emergency room at the VA Hospital in Miami on June 10, 2017 complaining of

 weakness. The Decedent was admitted to the hospital and a workup was done to rule out

 a stroke as the cause of his weakness.

        15.    After being admitted to the hospital, the Decedent came under the care of

 Defendant PEREIRA who was serving as his primary care physician.

        16.    Defendant, PEREIRA, was notified by hospital staff on June 11, 2017 that

 Decedent, Anthony Lowry, had a critically high troponin level.     No orders were issued

 by Defendant PEREIRA in response to the report.

        17.    Defendant PEREIRA was called again on June 11, 2017 by the hospital

 staff, this time he was advised that Decedent Lowry’s blood pressure was elevated.

        18.    While under Defendant PEREIRA’s care, the Decedent underwent an

 EKG.

        19.    The EKG ordered by Defendant PEREIRA was performed on the Decedent

 and the results were available early on the morning of June 12, 2017. The EKG showed a

 very specific ST elevation, which is indicative of a myocardial infarction, and which

 required immediate referral for diagnostic and corrective treatment.


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        20.    This information, along with the fact that the patient had increasing

 troponin levels, was known to the nursing staff caring for Mr. Lowry, and was conveyed

 to Defendant PEREIRA, the attending physician.

        21.    Despite having knowledge of this potential life-threatening EKG change

 and the elevated Troponin levels, no action was taken by the nurses or Defendant

 PEREIRA for more than seven and a half hours. It was not until 7:50 am that morning

 that Mr. Lowry was transferred to the cardiac catheterization lab. Once there, the patient

 was evaluated by Dr. Schob, who agreed to perform a diagnostic and potentially curative

 cardiac catheterization.

        22.    Despite the hospital staff, Dr. Schob and Defendant PEREIRA being made

 aware that the patient was likely having an ST myocardial infarction, the patient was still

 not brought into the cardiac catheterization lab for another hour and a half.

        23.    Once there, Dr. Schob began a cardiac catheterization, however, he failed

 to identify the pre-existing critical disease in the ostial portion of the circumflex vessel,

 resulting in his failure to treat that particular disease at the same time he was treating the

 left anterior descending artery.

        24.    The failure of Dr. Schob to identify obvious findings and to treat them

 caused the patient’s condition to deteriorate, and he ended up in cardiogenic shock.

        25.    Mr. Lowry went into cardiac arrest, and the healthcare providers’ attempts

 to resuscitate him were unsuccessful.


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       26.    As a result of the negligence of the Defendants herein, Anthony Lowry

 died on June 12, 2017.

         COUNT I CLAIM AGAINST UNITED STATES OF AMERICA
                    -




               UNDER THE FEDERAL TORT CLAIMS ACT

       The Plaintiff re-alleges and readopts paragraphs 1 through 26 and further alleges:

       27.    the Decedent, Anthony Lowry, came under the care of the Defendant,

 THE UNITED STATES OF AMERICA, when he presented to the Veteran’s

 Administration Hospital in Miami on June 10, 2017.

       28.    While at the Veteran’s Administration Hospital, the Decedent came under

 the care of doctors and nurses employed by the Veteran’s Administration Hospital,

 including but not limited to Alan Schob, M.D.

       29.    Alan Schob, M.D. had and undertook the duty to perform a cardiac

 evaluation and cardiac catheterization on the Decedent, Anthony Lowry, in accordance

 with the accepted standards of care for physicians in Miami-Dade County, Florida or any

 other similar medical community. Notwithstanding the duty undertaken, Alan Schob,

 M.D. breached that duty in the following ways:

              a. negligently and carelessly causing a delay in the transfer of Mr. Lowry
                 to the cardiac catheterization lab once he learned that an ST elevation
                 myocardial infarction had been identified;

              b. negligently and carelessly failing to recognize pre-existing critical
                 disease in the ostial portion of the circumflex vessel; and

              c. negligently and carelessly failing to appropriately treat the ostial
                 circumflex disease at the same time as the left anterior descending
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                    artery disease with either intracoronary stenting or placement of an
                    intra-aortic balloon pump, and transfer for emergency coronary artery
                    bypass grafting.

         30.     The nurses employed by the Veterans Administration Hospital in Miami

 were also negligent in their care and treatment of the Decedent inasmuch as they allowed

 an abnormal EKG result to go for seven hours before contacting or arranging for the

 appropriate physicians to come in and see Mr. Lowry.

         31.     The nursing staff’s failure to insure that a critical test result was

 communicated and ultimately acted upon by the medical staff was below the standard of

 care.

         32.     As a direct and proximate result of the negligence of Alan Schob, M.D.

 and the nursing staff of the Veteran’s Administration Hospital, Anthony Lowry, died.

 The Plaintiff brings the below list of claims for damages on behalf of the Estate and

 survivors.

                                COUNT II
                 NEGLIGENCE AGAINST DR. REGINALD PEREIRA

         The Plaintiff readopts and re-alleges paragraphs 1 through 26 and further alleges:

         33.      The Decedent, Anthony Lowry, came under the care of the Defendant,

 REGINALD PEREIRA, M.D., at the Veterans Administration Hospital in Miami in

 June of 2017.

         34.     As the attending physician for Anthony Lowry, Defendant PEREIRA had a

 duty to the patient to, among other things, make sure that all proper diagnostic tests were
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 ordered, that the results were obtained in a timely manner, and that any critical results

 were properly and timely communicated to the treating physicians and to any appropriate

 and necessary specialists so that proper treatment could be rendered to the patient,

 Anthony Lowry.

        35.    The Defendant PEREIRA had the duty to provide care and treatment for

 the Anthony Lowry, in accordance with the accepted standards of care for physicians in

 Miami-Dade     County,    Florida    or   any   other   similar   medical     community.

 Notwithstanding the duty undertaken, the Defendant, PEREIRA, breached that duty in

 each of the following ways:

              a. negligently and carelessly failed to follow up on           an EKG after
                 notification of critical values, increasing troponin       levels and the
                 identification of an ST elevation on the EKG, resulting   in a delay of the
                 diagnosis and treatment of an ST elevation myocardial     infarction; and

              b. negligently and carelessly failed to take into account the Decedent,
                 Anthony Lowry’s, medical history when performing the evaluation and
                 treatment of the Decedent while at the Veteran’s Administration
                 Hospital.

       36.    As a direct and proximate result of the negligence of the above referenced

 Defendant, REGINALD PEREIRA, M.D., Anthony Lowry, died.              The Plaintiff brings

 the below list of claims for damages on behalf of the Estate and survivors.

 CLAIM FOR DAMAGES BROUGHT BY THE PERSONAL REPRESENTATIVE
    ON BEHALF OF TIlE ESTATE OF ANTHONY LOWRY, DECEASED

       The Plaintiff readopts and re-alleges paragraphs 1 through 36 and further alleges:



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        37.    The Estate of Anthony Lowry has in the past suffered and will in the future

 continue to suffer the following damages:

               a. Loss of prospective net accumulations of the Estate, which might have
                  been expected but for the wrongful death, reduced to present money
                  value; and

               b. Medical and funeral expenses due to the Decedent’s death charged
                  against his Estate which were paid for by or on behalf of the Decedent.

        WHEREFORE, the Plaintiff, LATISHA THOMAS as Personal Representative of

 the Estate of Anthony Lowry, deceased, for and on behalf of the Estate, demands

 judgment against the Defendants for damages in excess of the minimum jurisdictional

 limits of this Court, and for the amounts previously claimed in the Federal Tort Claims

 Act Notice as outlined in Form 95 and as permitted under Florida’s Wrongful Death Act

 and the Federal Tort Claims Act.

    CLAIM FOR DAMAGES BROUGHT BY PERSONAL REPRESENTATIVE
         ON BEHALF OF SURVIVING CHILD, LATAVIS THOMAS

        The Plaintiff readopts and re-alleges paragraphs 1 through 36 and further alleges:

        38.   The Plaintiff, LATISHA THOMAS, as Personal Representative of the

 Estate of Anthony Lowry, Deceased, for and on behalf of the Survivor of the Decedent,

 makes the following claims for LATAVIS THOMAS, who has in the past suffered and

 will in the future continue to suffer the following damages:

              a. the value of loss, support and services of the Decedent from the date of
                 the Decedent’s death, both in the past and in the future; and



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                b. the loss of the Decedent’s parental companionship, instruction,
                   guidance and mental pain and suffering from the date of the Decedent’s
                   death, both in the past and in the future.

          WHEREFORE, the Plaintiff, LATISHA THOMAS, as Personal Representative

 of the Estate of Anthony Lowry, Deceased, for and on behalf of the Survivor, LATAVIS

 THOMAS, demands judgment against the Defendants for all damages recoverable under

 the Florida Wrongful Death Act and the Federal Tort Claims Act.

                                 CERTIFICATE OF COUNSEL

          Through counsel’s signature below, it is hereby certified, pursuant to Florida

 Statute §766.203, that counsel for the Plaintiff prior to filing this action has made a

 reasonable investigation as permitted by the circumstances to determine that there are

 grounds for a good faith belief that there was negligence in the care and treatment of the

 Decedent, ANTHONY LOWRY.              Further, such reasonable investigation has been

 given for a good faith belief that grounds exist for an action against the named

 Defendants.


 Dated:     May 2, 2019             Respectfully submitted,


                                    /s/Ee4’w’7(. Pett’
                                    EUGENE K. PETTIS

                                    /s1 KeVLVW’&T. M tUer
                                   KENNETH J. MILLER
                                   FBN: 865583
                                   Email: Service@hpslegal corn.




                                   HALICZER PETTIS & SCHWAMM, P.A.
                                             10
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                                   One Financial Plaza, Seventh Floor
                                   100 SE 3rd Avenue
                                   Fort Lauderdale, FL 33394
                                   Attorneys for Plaintiff
                                   Telephone: 954-523-9922
                                   Facsimile:    954-522-2512



                                   Certificate of Service

         I HEREBY CERTIFY that on the 2’” day of May, 2019, I electronically filed the
 foregoing document with the Clerk of the Court using CM!ECF. I also certify that the
 foregoing document is being served this day on all counsel of records or pro se parties
 identified on the attached Service List in the manner specified, either via transmission of
 Notice of Electronic Filing generated by CM/ECF or in some other authorized manner
 for those counsel or parties who are not authorized to receive electronically Notices of
 Electronic Filing.

                                          Eue4’w’ K.
                                                 Pett’
                                    EUGENE K. PETTIS

                                    /s/   Ke’wteth’T. M
                                    KENNETH J. MILLER




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Filing # 77491494 E-Filed 09/06/20 18 07:02:41 AM
   IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
   IN AND FOR MIAMI-DADE COUNTY, FLORIDA
                                   PROBATE DIVISION
   IN RE: ESTATE OF ANTHONY L. LOWRY,                                                             WD-3
                 Deceased.                     Case No. 2018-2171 -CP-02

                                               Section PMH 04


                             ORDER APPOINTING PERSONAL REPRESENTATIVE
                                           (Wrongful Death)
           On the petition of Latisha Thomas for the administration of the above estate (“Estate”), the Court finds
   that Latisha Thomas is entitled to appointment as personal representative (“Personal Representative”).
           It is hereby ADJUDGED that LATISHA THOMAS is appointed Personal Representative of the
   decedent’s Estate, and upon taking the prescribed oath, filing designation of resident agent and acceptance, and
   entering into bond in the sum of $0.00, Letters of Administration shall be issued with the following restrictions:

       1. Unless extended by court order, this Estate must be closed within 24 months.

      2. Unless an appropriate bond has been entered into and approved by the Court, the Personal
         Representative shall place all liquid assets in a depository designated by this Court pursuant section
         69.031, Florida Statutes, (“Depository”). This is a frozen account. No funds can be withdrawn without
         a court order.

       3. The Attorney of Record shall file a receipt of assets by the Depository in a timely fashion.

       4. If Florida real estate is sold, per court order, a closing statement shall be filed, and the sale’s net
          proceeds shall be placed in the Depository.

       5. The Personal Representative and the Depository shall jointly receive all monies payable to the Estate.

       6. There shall be no sale, encumbrance, borrowing, or gifting of any assets without court order.

       7. The apportionment of the wrongful death settlement must be approved by this Court.

           DONE AND ORDERED in Chambers at Miami-Dade County, Florida, on 09/05/ 18.




                                     CELESTE HARDEE MUIR
                                     CIRCUIT COURT JUDGE


       No Further Judicial Action Required on THIS MOTION/PETITION
                CLERK TO RECLOSE CASE IF POST JUDGMENT




                                               EHBTI
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The parties served with this Order are indicated in the Florida Courts E-Filing Portal “Notice of Service
of Court Documents” email confirmation. The movant/petitioner shall IMMEDIATELY serve a true and
correct copy of this Order, by mail, facsimile, email or hand-delivery, to all parties/counsel of record
for whom service is not indicated in the “Notice of Service of Court Documents” email confirmation,
and file proof of service with the Clerk of Courts.
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FiIing# 77491496 E-Filed 09/06/2018 07:02:51 AM



        IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
        IN AND FOR MIAMI-DADE COUNTY, FLORIDA
                                  PROBATE DIVISION
        IN RE: ESTATE OF ANTHONY L. LOWRY,
                                                                                           WD-4
                      Deceased.                     Case No. 2018-2171 -CP-02

                                                     Section PMH 04


                                     LETTERS OF ADMINISTRATION
                                           (Wrongful Death)

        TO WHOM IT MAY CONCERN:

               WHEREAS, Anthony L. Lowry a resident of Miami-Dade County, died on June 12,
        2017, owning assets in the State of Florida, and

                WHEREAS, Latisha Thomas has been appointed Personal Representative of the
        decedent’s (“Decedent”) estate (“Estate”) and has performed all acts, prerequisite to issuance of
        Letters of Administration in the Estate,

                NOW, THEREFORE, I, the undersigned Circuit Judge, declare the foregoing to be duly
        qualified under the laws of the State of Florida to act as Personal Representative of the above
        Estate, with full power to administer the Estate according to law; to ask, demand, sue for, recover
        and receive the property of the Decedent; to pay the debts of the Decedent as far as the assets of
        the Estate will permit and the law directs; and to make distribution of the Estate according to
        law, with the following restrictions:

            1. Unless extended by court order, this Estate must be closed within 24 months.

           2. Unless an appropriate bond has been entered into and approved by the Court, the
              Personal Representative shall place all liquid assets in a depository designated by this
              Court pursuant section 69.031, Florida Statutes, (“Depository”). This is a frozen account.
              No funds can be withdrawn without a court order.

           3. The Attorney of Record shall file a receipt of assets by the Depository in a timely
              fashion.

           4. If Florida real estate is sold, per court order, a closing statement shall be filed, and the
              sale’s net proceeds shall be placed in the Depository.

           5. The Personal Representative and the Depository shall jointly receive all monies payable
              to the Estate.
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     Probate Division: PMH 04       Case Name: Estate of Anthony L. Lowry      Case No.: 2018-2171-CP-02


         6. There shall be no sale, encumbrance, borrowing, or gifting of any assets without court
            order.

         7. The apportionment of the wrongful death settlement must be approved by this Court.

         8. These letters do not authorize entry into any safe deposit box without further court order.

         9. The verified inventory shall be filed within sixty days from the issuance of these letters.

              DONE AND ORDERED in Chambers at Miami-Dade County, Florida, on 09/05/18.




                                        CELESTE HARDEE MUIR
                                        CIRCUIT COURT JUDGE


         No Further Judicial Action Required on THIS MOTION/PETITION
                  CLERK TO RECLOSE CASE H POST JUDGMENT

     The parties served with this Order are indicated in the Florida Courts E-Filing Portal
     “Notice of Service of Court Documents” email confirmation. The movant/petitioner shall
     IMMEDIATELY serve a true and correct copy of this Order, by mail, facsimile, email or
     hand-delivery, to all parties/counsel of record for whom service is not indicated in the
     “Notice of Service of Court Documents” email confirmation, and file proof of service
     with the Clerk of Courts.




      LEITERSOFADMINISTRA11ON                                                             Page 2of2
      (Wrongful Death)
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            CLAIM FOR DAMAGE,                                          INSTRUCTIONS: Please read carefully the instructions on the                        FORM APPROVED
                                                                       reverse side and supply information requested on both sides of this                0MB NO. 11050008
                    ,   •,-,,                A
               I P1.) U I T, “JIX UM I fl                              form. Use additional sheet(s) if necessary. See reverse side for
                                                                       additional instructions.

1. Submit to Appropriate Federal Agency:                                                            2. Name, address of claimant, and claimants personal representative if any.
                                                                                                       (See instructions on reverse). Number, Street. City, State arid Zip code.
Office of Chief Counsel (O2FT)                                                                      Anthony Lowry, deceased do
Franklin Templeton Building                                                                         Latisha Thomas, Personal Representative of the Estate of
140 Fountain Parkway, Ste. 520                                                                      Anthony Lowry, deceased
St. Petersburg, FL 33716                                                                            2365 E. Superior Street, Opa Locka, FL 33054
3. TYPE OF EMPLOYMENT                    4. DATE OF BIRTH             5. MARITAL STATUS             6. DATE AND DAY OF ACCIDENT                           7. TIME (A.M. OR P.M.)
         MILITARY          CIVILIAN      02/06/1 950                  Not married                   06/12/2017                      Monday                P.M.
8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, iniury, or death, identifying persons and property involved, the place of occurrence and
   the cause thereof. Use additional pages if necessary).


Anthony Lowry was admitted to the V.A. Hospital in Miami on 6/10/17. While in the emergency room, he had an abnormal
EKG. The abnormal results were not acted upon for seven hours. The next morning, a cardiologist was called. HE ordered the
patient be taken to the Cath Lab. There was a delay in getting Mr. Lowry there. Once there, the procedure was performed by
Alan Schob, MD, who failed to identify and treat blockages in Mr. Lowry’s arteries. As a result, Mr. Lowry suffered a myocardial
infarction and died.

                                                                                  PROPERTY DAMAGE
NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, Stale, and Zip code).

N/A
BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See inslructipna on reverse side).


N/A
10.                                                                     PERSONAL INJURYIWRONGFUL DEATH
STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, V*IICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT. STATE THE NAME
OF THE INJURED PERSON OR DECEDENT.
The decedent, Anthony Lowry, had his death caused by negligence of the V.A. Hospital and its staff and physicians. They
failed to timely treat his coronary artery disease in the face of an abnormal EKG, then delayed further once a cardiologist was
called, who then failed to intervene. That resulted in Mr. Lowry’s death. Mr. Lowry is survived by his children, One child,
Lativis Thomas, is a statutory survivor and seeks damages as beneficiary of Anthony Lowry’s estate.
11.                                                                                    WITNESSES

                                NAME                                                                 ADDRESS (Number, Street, City. State, and Zip Code)

                        Yvette Thomas                                                            2365 E. Superior Street, Opa Locka, FL 33054
                        Latavis Thomas                                                           2365 E. Superior Street, Opa Locka, FL 33054


12. (See instructions on reverse).                                           AMOUNT OF CLAIM (in dollars)
12a. PROPERTY DAMAGE                     12b. PERSONAL INJURY                                 12c. WRONGFUL DEATH                     12d. TOTAL IFailure to specify may cause
                                                                                                                                           forfeiture of your rights).

0.00                                     0.00                                                 2,000,000                               2,000,000
I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTiON AND FINAL SETTLEMENT OF THIS CLAIM.

13a. SIGNATURE OF CLAIMANT (See instructions on reverse side).                                      13b. PHONE NUMBER OF PERSON SIGNING FORM 14. DATE OF SIGNATURE

                                                                                                    305-770-8661                                                       ( 0’-.. f   ‘


                                CIVIL PENALTY FOR PRESENTING                                                     CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                       FRAUDULENT CLAIM                                                                CLAIM OR MAKING FALSE STATEMENTS

The claimant is liable to the United States Government for a civil penalty of not less than         Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.1
$5,000 and not more than $10,000, pIus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3729).

Authorized for Local Reproduction                                               NSN 7540-00-634-4046                                           STANDARD FORM 95 (REV. 2/2007)
Previous Edition is not Usable                                                                                                                 PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                               28 CFR 14.2
95-109
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          —




                                                                                  INSURANCE COVERAGE

In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or properly.

15. Do you carry accident Insurance?           Yes     If yes, give name and address of insurance company (Number. Street. City, State. and Zip Code) and policy number.                No

N/A



16. Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible?         Yes         No      17. If deductible, state amount.




N/A
18. If a claim has been flied with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (II is necessary that you ascertain these facts).
N/A




19. Do you carry public liability and properly damage insurance?           Yes    If yes, give name and address of insurance carrier (Number, Street, City, Stale, and Zip Code).
                                                                                                                                                                                        J No
N/A




                                                                                         INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the “appropriate Federal agency” whose
employee(s) was involved in the incident. If the incident Involves more than one claimant, each claimant should submit a separate
claim form.

                                                         Complete all items Insert the word NONE where applicable.
                                                                                   -




A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                    DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT. OR LEGAL                             INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                    THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WiTHIN
NOTIFICATION OF AN INCIDENT. ACCOMPANIED BY A CLAIM FOR MONEY                                    IWO YEARS AFTER THE CLAIM ACCRUES.
FaIlure to completely execute this form or to suppty the requested material within                The amount claimed should be substantiated by competent evidence as follows;
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it is received by the appropriate agency, not when it is                 (a) In support of the claim for personal injury or death, the claimant should submil a
mailed.                                                                                           written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                  nature and extent of trestment, the degree of permanent disability, if any, the prognosis,
                                                                                                  and the period of hospitalization, or incapacitation, attaching itemized bills for medical.
If instruction is needed in completing this form, the agency listed in item #1 on the reverse     hospital, or burial expenses actually incurred.
side may be conlacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulations, If more than one agency is                (b) In support of claims for damage to property, which has been or can be economically
involved, please state each agency.                                                               repaired, the claimant should submit at least two itemized signed statements or estimates
                                                                                                  by reliable, disinterested concerns, or, if payment has been made, the itemized signed
                                                                                                  receipts evidencing payment.
The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant. A claim presented by an agent or legal representative          (c) In support of claims for damage to properly which is not economically repairable, or if
must be presented in the name of the claimant, If the claim is signed by the agent or             the property is lost or destroyed, the claimant should submit statements as to the original
legal representative, it must show the title or legal capacity of the person signing and be       cost of the properly, the date of purchase, and the value of the property, both before and
accompanied by evidence of hislher authority to present a claim on behalf of the claimant         after the accident. Such statements should be by disinterested competent persons,
as agent, executor, administrator, parent, guardian or other representative.                      preferably reputable dealers or officials familiar with the type of property damaged, or by
                                                                                                  two or more competitive bidders, and should be certified as being just and correct.

If claimant intends to file for both personal injury and property damage, the amount for
each must be shown in item number 12 of this form.                                                (d) Failure to specify a sum certain will render your claim invalid and may result in
                                                                                                  forfeiture of your rights.

                                                                                       PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act. 5 U.S.C. 552a(e)(3), and              B. Principal Purpose; The information requested is to be used in evaluating claims.
concems the information requested in the letter to which this Notice is attached.                 C. Routine Use; See the Notices of Systems of Records for the agency to whom you are
    A. Authority; The requested information is solicited pursuant to one or more of the              submitting this form for this information.
        following; 5 U.S.C. 301,28 U.S.C. 501 et seq., 28 U.S.C. 2671 51 seq., 28 C.F.R.          0. Effectof Failure to Respond; Disclosure is voluntary. However, failure to supply the
        Part 14.                                                                                     requested information or to execute the form may render your claim “invalid.”

                                                                          PAPERWORK REDUCTION ACT NOTICE

This notice is gieiy for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts
Branch, Attention; Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail completed
form(s) to these addresses.

                                                                                                                                            STANDARD FORM 95            REV. 12/2007)   BACK
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        Q
                                                                      Torts Law Group (02)

VA       IJ       U.S. Department of Veterans Affairs
                  Office of General Counsel
                                                                      1201 NW 16” Street
                                                                      Miami, FL 33125

                                                                      liiiail: s(eve.mccorrnackiiva.gov

                                                                      In Reply Refer lo: CL 385523


     October 9, 2018

     Eugene K. Pettis
     Haliczer Pettis & Schwamm
     One Financial Plaza, Seventh Floor
     100 SE Third Avenue
     Fort Lauderdale, FL 33394

            RE:    Administrative Tort Claim; Anthony Lowry, Deceased
                   Latisha Thomas, Personal Representative

     Dear Mr. Pettis:

     The U.S. Department of Veterans Affairs (VA) received your tort claim on
     September 24, 2018.

     VA has six months from the date your claim was received to consider a claim before
     you may file suit in federal district court pursuant to the Federal Tort Claims Act (FTCA),
     sections 1346(b), 2401(b), and 2671-2680, title 28, United States Code.

     If you have not been contacted after six (6) months from the date your claim was
     received, you may contact Attorney Steve McCormack at steve.mccormackva.qov.

     A combination of federal and state laws governs FTCA claims; some state laws may
     limit or bar a claim or lawsuit. VA staff handling FTCA claims work for the Federal
     Government, and cannot provide legal advice on state or federal law filing requirements.

     Sincerely,




     Annie King
     Legal Assistant
